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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                   Plaintiffs,

                             v.                        ORDER

     JASON KESSLER, et al.,
                                                       JUDGE NORMAN K. MOON
                                  Defendants.


          Before the Court is a motion to reconsider from Defendants Matthew Heimbach,

   Matthew Parrot, and Traditionalist Worker Party (“Movant-Defendants”). Dkt. 1269. The Court

   has considered that motion, Plaintiffs’ opposition thereto, Dkt. 1278, Movant-Defendants’ reply,

   Dkt. 1282, and heard argument upon the motion upon Movant-Defendants’ request.

          The Court previously ruled that the “Heaphy Report” is not excepted from the general

   rule against hearsay, Fed. R. Evid. 802, as a public record within the meaning of Rule 803 of the

   Federal Rules of Evidence. See Dkt. 1231. Movant-Defendants now urge the Court to

   nevertheless find the Heaphy Report admissible for its truth under Rule 807, the residual

   exception to the hearsay rule. The motion will be denied.

          Rule 807 states:

                   Under the following conditions, a hearsay statement is not
                  excluded by the rule against hearsay even if the statement is not
                  admissible under a hearsay exception in Rule 803 or 804:
                         (1) the statement is supported by sufficient guarantees of
                  trustworthiness—after considering the totality of circumstances
                  under which it was made and evidence, if any, corroborating the
                  statement; and



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                         (2) it is more probative on the point for which it is offered
                  than any other evidence that the proponent can obtain through
                  reasonable efforts.

   Rule 807 is “a narrow exception that should not be construed broadly. To construe it broadly

   would easily cause the exception to swallow the rule.” U.S. v. Dunford, 148 F.3d 385, 394 (4th

   Cir. 1998); see also United States v. Heyward, 729 F.2d 297, 299–300 (4th Cir. 1984) (writing

   that the legislative history of the rule warns it is to be used “very rarely, and only in exceptional

   circumstances”).

          This narrow exception has been found appropriate to admit child victim hearsay in sexual

   assault cases, grand jury testimony offered by the prosecution, and videotaped statements of

   unavailable witnesses. Wright and Miller, Fed. Prac. & Proc. § 7067 (3d ed. 2021). In Dunford,

   for example, the Fourth Circuit affirmed a district court’s decision to admit the out-of-court

   statements of child abuse victims who later recanted. 148 F.3d at 387. Dunford was convicted of

   drug and gun offenses based in part on out-of-court statements made by his daughters. Though

   the daughters recanted their prior statements before trial, the court admitted the hearsay

   testimony of social workers, a police officer, and an assistant principal who heard their

   statements because “[t]he serious nature of the repeated statements made by the children to

   government officials as well as the consistency of their stories given to those officials provide

   clear indicia of the trustworthiness of their statements.” Id. at 392–93.

          These examples in which courts have ruled the residual exception applies as to certain

   statements, such as a child’s “statement” that her father was abusive, stand in stark contrast with

   Movant-Defendants’ attempt to use it to introduce into evidence the entirety of a 220-page

   report. A district court may more readily analyze independent guarantees of trustworthiness and

   the unique probative value of any particular “hearsay statement” or statements. And for these


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   reasons, the Court previously allowed Defendants another chance to request that the Court admit

   “specific excerpts” of the Heaphy Report. Dkt. 1231 at 3–4. But no defendant has taken the

   Court up on that suggestion. Instead, Movant-Defendants sought admission of the entirety of the

   Report. However, such a test as that required by Rule 807’s text is ill-suited, to say the least, to a

   document containing hundreds of statements based on myriad sources—including a wide-range

   of factual findings, opinions as to fault on multiple matters, and numerous instances of hearsay-

   within-hearsay. The very nature of the residual exception’s test excludes the Heaphy Report from

   its scope. Movant-Defendants have not cited any precedent that supports application of Rule 807,

   and the plain text of the rule demonstrates its inapplicability here. The residual exception cannot

   be construed so broadly as to admit the Report as a whole.

          For these reasons, Movant-Defendants’ motion, Dkt. 1269, is DENIED.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record.

          Entered: This ____
                        22nd day of October, 2021.




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